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                                    #1070



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

ROBERT LISKA,

Defendant.                                               No. 06-30167-DRH

                                     ORDER

HERNDON, Chief Judge:

             The Court has been informed that attorney Daniel Schattnik has a

conflict in this matter. Thus, the Court sua sponte REMOVES Mr. Schattnik as

counsel and APPOINTS attorney Grant Shostak, 8015 Forsyth Boulevard, St. Louis,

Missouri 63105, 314-725-3200 to represent Liska in this matter.

             IT IS SO ORDERED.

             Signed this 30th day of April, 2008.



                                            /s/     DavidRHer|do|
                                            Chief Judge
                                            United States District Court
